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 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10           v.                                        )          2:10-CR-365-JCM (PAL)
                                                       )
11   BRAD FUSSELL,                                     )
                                                       )
12                         Defendant.                  )

13                           PRELIMINARY ORDER OF FORFEITURE

14          This Court finds that on September 28, 2011, defendant BRAD FUSSELL was found guilty

15   of Count One of aTwo-Count Criminal Indictment charging him with Conspiracy to Possess with

16   Intent to Distribute Cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and

17   846. Docket #131.

18          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1), and (2), the United States of

19   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of

20   the Criminal Indictment and the offense to which defendant BRAD FUSSELL pled guilty.

21          The following assets are subject to forfeiture pursuant to Title 21, United States Code,

22   Sections 853(a)(1) and 853(a)(2); Title 21, United States Code, Section 881(a)(11) and Title 28,

23   United States Code, Section 2461(c); Title 18, United States Code, Section 924(d)(1), (2)(C), and

24   (3)(B) and Title 28, United States Code, Section 2461(c):

25   ...

26   ...
           Case
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 2          a)      $171,600 in United States currency;
            b)      a 2008 Black Chevy Suburban bearing Nevada license plate: YODADY, VIN:
 3                  1GNFC16008R143172;
            c)      a Glock model 23, .40 caliber semi-automatic handgun bearing serial number
 4                  KFF109;
            d)      a Sig Sauer model P229, .40 caliber semi-automatic handgun bearing serial number
 5                  AG23046; and
            e)      any and all ammunition (“property”).
 6
            This Court finds the United States of America is now entitled to, and should, reduce the
 7
     aforementioned property to the possession of the United States of America.
 8
            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
 9
     United States of America should seize the aforementioned property.
10
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
11
     BRAD FUSSELL in the aforementioned property is forfeited and is vested in the United States of
12
     America and shall be safely held by the United States of America until further order of the Court.
13
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
14
     shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
15
     website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
16
     the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
17
     the name and contact information for the government attorney to be served with the petition,
18
     pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
19
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
20
     with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
21
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
22
     shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
23
     following address at the time of filing:
24
     ...
25
     ...
26
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 1                 MICHAEL A. HUMPHREYS
                   Assistant United States Attorney
 2                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
 3                 Las Vegas, Nevada 89101.

 4         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 5   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 6   following publication of notice of seizure and intent to administratively forfeit the above-described

 7   property.

 8                    24th day
           DATED this ______ dayofofOctober, 2011.
                                     __________________, 2011.

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11                                                UNITED STATES DISTRICT JUDGE

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